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                           UNITED STATES OF AMERICA
                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION




UNITED STATES OF AMERICA,

                      Plaintiff,                    Case No. 2:13-cr-9-04

v.                                                  HON. R. ALLAN EDGAR

Kristin Ellen Bergeron,

                Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

       On February 3, 2015, a Petition for Warrant or Summons for Offender Under

Supervision was filed, alleging 14 violations of the defendant’s conditions of supervised

release.

       An initial appearance was conducted on August 4, 2015, at which time the

defendant waived her right to a preliminary hearing and was given time to determine if a

revocation hearing was necessary.

       On September 3, 2015, the parties appeared before the undersigned for a

revocation hearing and defendant waived her right to appear before a district judge, her

right to allocution before a district judge, and her right to sentencing before a district judge.

At this time, the defendant admitted to violation #12 as set forth in the petition (and

amended on the record). For the reasons stated on the record, it is recommended that the
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defendant's supervised release be revoked and defendant be released to an in-patient

treatment facility. Defendant will return for sentencing upon discharge from treatment..



Date:         9/3/2015                                    /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).
